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                                             August 7, 2020


  Via ECF and Federal Express
  Hon. Michael A. Shipp, U.S.D.J.
  United States District Court, District of New Jersey Trenton
  Clarkson S. Fisher Federal Building & U.S. Courthouse
  Room 5000
  402 E. State Street
  Trenton, NJ 08608

         Re:     In re Valeant Pharmaceuticals International, Inc. Securities Litigation
                 Case No. 3:15-cv-07658-MAS-LHG

  Dear Judge Shipp:

         On behalf of defendant PricewaterhouseCoopers LLP (“PwC”), we are filing: (1) PwC’s
  Objection to the Special Master’s Report and Recommendation regarding Plaintiff Tucson’s Motion
  for Leave to Amend (“Report”); and (2) an Appendix containing the motion papers that are the subject
  of the Report. PwC is filing the Appendix because PwC and Tucson previously served the motion
  papers on the parties in this case but did not publicly file them.

          In connection with Plaintiff’s Motion for Leave to Amend, Plaintiff filed a Motion for Leave
  to File Under Seal, which the Special Master granted (ECF 602, at 1). Consistent with Plaintiff’s
  sealing motion and that Order, PwC is publicly filing redacted versions of Exhibits 1–3 to the
  Appendix and filing under seal unredacted versions of those Exhibits. Exhibits 1–3 are: (1) Plaintiff’s
  Memorandum of Law in Support of its Motion for Leave to Amend Complaint; (2) Plaintiff’s
  Proposed Second Amended Complaint; and (3) a redline comparing Plaintiff’s Proposed Second
  Amended Complaint to Class Plaintiffs’ First Amended Complaint. These Exhibits contain
  information from documents that PwC has designated as Confidential pursuant to the Stipulation and
  Confidentiality Order in this action (ECF 244), and the Special Master previously determined it was
  appropriate to file them under seal. See ECF 602, at 1.1


  1   The Special Master granted Plaintiff’s Motion for Leave to File Under Seal in the same document
      that he issued his Report on Plaintiff’s Motion for Leave to Amend, i.e., ECF 602. PwC objects
      to the Report, but agrees with the Special Master’s ruling granting Plaintiff’s Motion for Leave to
      File Under Seal.


            NEW JERSEY                                                          NEW YORK
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        For the Court’s convenience, PwC is also providing the Court with a courtesy copy of the full
  Appendix with unredacted versions of all Exhibits (1 through 7).

         Please do not hesitate to call with any questions.

                                               Respectfully,

                                               /s/ A. Ross Pearlson

                                               A. Ross Pearlson
